              Case 2:12-cv-01282-JLR Document 633 Filed 08/05/20 Page 1 of 3




 1                                                         THE HONORABLE JAMES L. ROBART
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 7                            UNITED STATES DISTRICT COURT FOR THE
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
10     UNITED STATES OF AMERICA,
11                                                        No. 2:12-cv-01282-JLR
                               Plaintiff,
12                                                        JOINT STATUS REPORT AND
                                                          STIPULATED MOTION TO EXTEND THE
13                       v.
                                                          TRO AND SET A BRIEFING SCHEDULE
14     CITY OF SEATTLE,
                                                          Noting Date: August 5, 2020
15                            Defendant.

16
17          Plaintiff United States of America and Defendant City of Seattle (the “Parties”) hereby
18 submit the following Joint Status Report and Stipulated Motion to Extend the Court’s Temporary
19
     Restraining Order and Set a Briefing Schedule in response to the Court’s order requiring a joint
20
21 status report by August 5, 2020. See (Dkt. 630 and 631).
22          On July 22, 2020, the Court denied the City’s Notice of Ordinance Regarding Crowd
23 Control Weapons (Dkt. 625), which the Court construed as a Motion for Temporary Restraining
24
     Order. (Dkt. 626). In that order, the Court directed the Parties (and invited the Community
25
     Police Commission (“CPC”)) to submit memoranda by August 22, 2020, analyzing the
26
27 interaction of the Crowd Control Weapons Ordinance (“CCW Ordinance”) with the Consent
28
      JOINT STATUS REPORT/STIPULATED MOTION TO EXTEND TRO                        UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
      Case No. 2:12-cv-01282-JLR - 1                                              SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
              Case 2:12-cv-01282-JLR Document 633 Filed 08/05/20 Page 2 of 3




 1 Decree, as well as with any SPD policies that the Consent Decree governs. Id. The order also
 2 directed the parties to respond to the Office of Police Accountability and Office of Inspector
 3
     General’s anticipated report (“OPA/OIG Report”) (due August 15, 2020) in their memoranda.
 4
            On July 24, 2020, the Court granted the United States’ Motion for Temporary Restraining
 5
 6 Order (“TRO”) enjoining the operation of the CCW Ordinance for a period of 14 days (expiring
 7 August 7, 2020). See (Dkt. 630). The Court further ordered the Parties to submit a Joint Status
 8
     Report by August 5, 2020. See (Dkts. 630 and 631). The Parties subsequently conferred and
 9
     reached agreement that the TRO be extended until September 18, 2020. Further, if after
10
11 reviewing the August 22, 2020 briefing responsive to the Court’s July 22, 2020 Order (Dkt. 626),
12 the United States determines that a preliminary injunction will be necessary to continue
13
     restrictions on the implementation of the CCW Ordinance after the TRO’s expiration, the Parties
14
     agree that the United States will move for a preliminary injunction by August 27, 2020. In order
15
16 for the motion for preliminary injunction to be heard before expiration of the TRO, the Parties
17 agree that the opposition will be due on shortened time by September 8, 2020, with the reply and
18 noting date set for September 11, 2020. The Parties respectfully request that the Court enter an
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     order consistent with these agreements.
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      JOINT STATUS REPORT/STIPULATED MOTION TO EXTEND TRO                       UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
      Case No. 2:12-cv-01282-JLR - 2                                             SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
             Case 2:12-cv-01282-JLR Document 633 Filed 08/05/20 Page 3 of 3




 1 DATED this 5th day of August, 2020.
 2 For the UNITED STATES OF AMERICA:                  For the CITY OF SEATTLE:
 3
     BRIAN T. MORAN                                   CITY OF SEATTLE
 4 United States Attorney for the                     PETER S. HOLMES
     Western District of Washington                   Seattle City Attorney
 5
 6
     s/ Christina Fogg                                s/ Kerala Cowart
 7 Kerry J. Keefe, Civil Chief                        Kerala T. Cowart, WSBA #53649
 8 Christina Fogg, Assistant United States Attorney   Assistant City Attorney
   United States Attorney’s Office                    Seattle City Attorney’s Office
 9 Western District of Washington                     701 Fifth Avenue, Suite 2050
   700 Stewart Street, Suite 5220                     Phone: (206) 733-9001
10 Seattle, Washington 98101-1271                     Fax: (206) 684-8284
11 Phone: (206) 553-7970                              Email: Kerala.Cowart@seattle.gov
   Email: Christina.Fogg@usdoj.gov
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      JOINT STATUS REPORT/STIPULATED MOTION TO EXTEND TRO             UNITED STATES ATTORNEY
                                                                     700 STEWART STREET, SUITE 5220
      Case No. 2:12-cv-01282-JLR - 3                                   SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
